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               IN THE UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION

                       Case No. 8:22-cv-1981-TPB-JSS

STATE OF FLORIDA, et al.,

Plaintiffs,

v.

FOOD AND DRUG ADMINISTRATION,
et al.,
Defendants.

          PLAINTIFFS’ MOTION FOR LEAVE TO FILE A REPLY

      Pursuant to Local Rule 3.01(d), Plaintiffs respectfully seek leave to file a

reply in support of their pending Motion to Compel Discovery Responses. See

ECF No. 46. Defendants filed their opposition on January 31, 2023. See ECF

No. 49.

      The proposed reply would address the following issues:

          • Defendants’ argument that no discovery is appropriate in this case;

          • Defendants’ view that the administrative record is not inadequate

              and contains all required materials;

          • Defendants’ alternative argument that all of Plaintiffs’ discovery

              requests are overbroad and seek irrelevant information.

      Plaintiffs have strong responses to each of these important matters and

have already drafted a significant portion of the proposed reply brief. Resolving

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the discovery dispute is especially important in this case because Defendants

have declined to provide any discovery responses, leaving the Court and

Plaintiffs with only a sparse and inadequate administrative record to resolve

Plaintiffs’ claims asserting unreasonable delay and unlawful withholding of

agency action. Obtaining meaningful discovery via the pending Motion to

Compel is accordingly necessary for the Court’s ultimate review of those merits

claims, which form the heart of this important lawsuit—and thus a reply brief

would be especially important in this context.

      Moreover, Defendants previously received approval to file a reply in

support of their motion for a protective order, which addressed this same

ongoing discovery dispute. See ECF No. 32.

      Accordingly, Plaintiffs respectfully request leave to file a reply brief of

no more than seven pages on or before February 3, 2023.




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Dated: February 1, 2023

 Respectfully submitted,

 ASHLEY MOODY
 ATTORNEY GENERAL

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                         CERTIFICATE OF SERVICE

         I hereby certify that on February 1, 2023, I filed the foregoing via the

Court’s CM/ECF system, which will serve all counsel.

                                       /s/ R. Trent McCotter
                                       R. TRENT MCCOTTER



                   LOCAL RULE 3.01(G) CERTIFICATION

         I certify that, on January 31-February 1, 2023, I consulted via e-mail

with Defendants’ counsel regarding this motion. Defendants take no position

on the motion and defer to the Court on whether it wishes to receive a reply

brief.

February 1, 2023

                                       /s/ R. Trent McCotter
                                       R. TRENT MCCOTTER




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